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  1   PETER C. ANDERSON
      UNITED STATES TRUSTEE
  2   JILL M. STURTEVANT, State Bar No. 089395                       FILED & ENTERED
      ASSISTANT UNITED STATES TRUSTEE
  3   KENNETH G. LAU, State Bar No. 155314
      TRIAL ATTORNEY                                                      OCT 02 2018
  4   OFFICE OF THE UNITED STATES TRUSTEE
      915 Wilshire Blvd., Suite 1850                                 CLERK U.S. BANKRUPTCY COURT
  5   Los Angeles, California 90017                                  Central District of California
      (213) 894-4480 telephone                                       BY wesley DEPUTY CLERK
  6   (213) 894-2603 facsimile
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                                   UNITED STATES BANKRUPTCY COURT
  9
                                   CENTRAL DISTRICT OF CALIFORNIA
 10
                                         LOS ANGELES DIVISION
 11
      In re:                                        )   Case No.: 2:18-bk-17029 BB
 12                                                 )
                                                    )   Chapter 11
 13   DDC GROUP, INC.,                              )
                                                    )   ORDER APPROVING STIPULATION
 14                   Debtor(s).                    )   FOR CONTINUING COMPLIANCE IN
                                                    )   RESOLUTION OF UNITED STATES
 15                                                 )   TRUSTEE’S MOTION UNDER 11 U.S.C. §
                                                    )   1112(b)(1) TO CONVERT, DISMISS OR
 16                                                 )   APPOINT A CHAPTER 11 TRUSTEE
                                                    )   WITH AN ORDER DIRECTING
 17                                                 )   PAYMENT OF QUARTERLY FEES AND
                                                    )   FOR JUDGMENT THEREON AND
 18                                                 )   CONCURRENT REQUEST TO VACATE
                                                    )   HEARING DATE
 19                                                 )
                                                    )   Hearing Date and Time:
 20                                                 )   Date: October 4, 2018
                                                    )   Time: 10:00 a.m.
 21                                                 )   Place: Courtroom 1539, 255 E. Temple St.,
                                                    )            Los Angeles, CA 90012
 22                                                 )
 23            After consideration of the Stipulation for Continuing Compliance in resolution of United
 24   States Trustee’s Motion under 11 U.S.C. § 1112(b)(1) to Convert, Dismiss or Appoint a Chapter 11
 25   Trustee with an Order Directing Payment of Quarterly Fees and for Judgment Thereon and Request
 26   to Vacate Hearing (“Continuing Compliance Stipulation”), by and between Debtor DDC GROUP,
 27   INC. (“Debtor”) and the United States Trustee (“U.S. Trustee”), through their respective counsel of
 28   record, and FOR GOOD CAUSE APPEARING, the Court orders as follows:

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  1        A.    IT IS HEREBY ORDERED that the Continuing Compliance Stipulation is

  2              APPROVED in its entirety;

  3        B.    IT IS FURTHER ORDERED that Debtor will attempt to remain in full and timely

  4              compliance with all United States Trustee Guideline requirements. If Debtor

  5              becomes delinquent in any of the United States Trustee reporting requirements, the

  6              U.S. Trustee will provide a single written notice of delinquency via email to

  7              Debtor’s proposed counsel of record at jhayes@rhmfirm.com to cure the

  8              deficiencies. If such deficiencies are not cured within the five (5) business days, the

  9              United States Trustee may submit, without further notice or hearing, a written

 10              application, declaration and proposed order, dismissing or converting this case with

 11              a judgment for any outstanding United States Trustee quarterly fees; or requesting

 12              the appointment of a Chapter 11 Trustee;

 13        C.    IT IS FURTHER ORDERED, as detailed in the Continuing Compliance Stipulation,

 14              that in the event of an uncured default under this stipulation, in further support of the

 15              Court’s consideration of whether conversion or dismissal, or the appointment of a

 16              Chapter 11 trustee or examiner, is in the best interests of the estate's creditors, and

 17              from the perspective of the estate's creditors, the application and declaration filed by

 18              the U.S. Trustee shall expressly address whether there exist any unusual
 19              circumstances militating against either conversion and dismissal.

 20        D.    IT IS FURTHER ORDERED that the Continuing Compliance Stipulation fully

 21              resolves the U.S. Trustee’s Motion under 11 U.S.C. § 1112(b) to Convert or Dismiss

 22              Case with an Order Directing Payment of Quarterly Fees and Judgment Thereon

 23              filed in the instant case; and

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  2           E.      IT IS FURTHER ORDERED that the continued hearing on the U.S. Trustee’s

  3                   Motion to Dismiss or Convert Case, presently set for October 4, 2018 at 10:00 a.m.,

  4                   is VACATED as resolved.

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  6           IT IS SO ORDERED.

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      Date: October 2, 2018
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